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               IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF MONTANA, MISSOULA DIVISION


  MATT BARKER, TERRIL                      Cause No.: CV-18-179-DLC
  BERNHARDT, DWAYNE
  BINKLEY, MARK BOESCH,
  MIKE CONRAD, RANDALL                    BRIEF IN SUPPORT OF
  DOANE, KEN DURIE, DAMIAN             UNOPPOSED MOTION FOR: (1)
  EDWARDS, MIKE ELLEN,                 PRELIMINARY APPROVAL OF
  DANIEL ENDECOTT, RYAN                  MEDIATED SETTLEMENT
  EWER, CHUCK FYFE, MIKE                     AGREEMENT; (2)
  GATES, JASON GORDON, RICK                 APPOINTMENT OF
  HAJEK, DAVIS B. HARRIS,                  REPLACEMENT ESOP
  THOMAS HARTZELL, RANDY                TRUSTEE; (3) APPROVAL OF
  HILL, TRAVIS HILL, GRAHAM               FORM AND TIMING OF
  HYDE, TYLER JARVIS, GERALD              PROPOSED NOTICE OF
  JELLETICH, PAUL KENNY,                    SETTLEMENT AND
  ROBERT MATTIJETZ, JEFF               OPPORTUNITY TO OBJECT; (4)
  MCCHRISTIAN, CHRIS                   APPROVAL OF PROPRIETY OF
  MCPHERSON, LESTER                    BAR ORDER; AND (5) SETTING
  MEINZEN, ERIN MESSEX,                    HEARING FOR FINAL
  MARK MILLER, BRUCE                           APPROVAL
  MILLER, ISAAC MILSTEAD,
  DAVID NORDMAN, RANDY
  PHILLIPS, DENNIS K. RAMEY,
  GREGORY RAUER, MILES
  RAUER, MICHAEL RYKER,
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ALLEN SCHMIDT, BRETT
SHARBONO, ROB SIMS,
WILLIAM “BERT” SMEAD,
MARVIN SNEDIGAR, JONI
SOLANDER, JASON SPEK,
ROGER STEVENS, KI
STODDARD, RICHARD WAYNE
SUMMERS, STEVE TENOLD,
KENNETH TICHENOR, ZACH
TITECA, DAN WALDO, DON
WHITEHAIR AND PATRICK
WURSTER

         Petitioners,

    v.

SELWAY CORPORATION and the
SELWAY CORPORATION
EMPLOYEE STOCK OWNERSHIP
PLAN,

         Respondents.
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                                         INTRODUCTION

         Petitioners are current or former participants in the Selway Corporation

Employee Stock Ownership Plan (“Selway ESOP”). Petitioners asserted claims

against Selway and its officers and directors alleging improper use of corporate

assets and breach of fiduciary duties. Following mediation with Tracy Axelberg on

April 18-19, 2018, the parties and two liability insurers reached a mediated

settlement agreement and now seek preliminary approval of the terms. The parties

further seek approval of the form and timing of proposed notice of settlement and

opportunity to object, as well as approval of a bar order. Finally, the parties ask

that the Court set a hearing for final approval after participants in the subject ESOP

have had an opportunity to be heard concerning the proposed settlement.


                                          BACKGROUND

A.       Allegations Against Respondents.

         In April of 2017, Petitioner Steve Tenold filed a lawsuit against Selway

Corporation and its President alleging breach of Mr. Tenold’s deferred

compensation contract and other claims. Mr. Tenold was represented by the same

counsel that presently represents Petitioners.

         In the course of that litigation, Mr. Tenold’s counsel requested and received

voluminous discovery documents, including tens of thousands of pages of Selway

Corporation’s records, and took several depositions. As a result of the discovery

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materials received, Petitioners contend they identified various breaches of duties

resulting in significant damages to the Selway ESOP.

      Specifically, they allege that after the ESOP became the sole shareholder of

Selway Corporation in 1999, one of the original owners, Max Downing, continued

as President of the corporation, a trustee and fiduciary of the ESOP and a member

of the Board of Directors. Petitioners contended that, serving in these multiple

capacities, Mr. Downing failed to follow the systems of checks-and-balances

intended to protect the value of the ESOP’s shares. Petitioners allege that the

ESOP did not have an advisory committee, for example. Mr. Downing selected

other members of the Board of Directors, who were appointed without correctly

following election procedures. Shareholder and trustee meetings were rarely

convened. Petitioners allege that Mr. Downing failed to fulfill fiduciary and other

duties, and entered transactions which constituted conflicted interest transactions

detrimental to Selway Corporation, and ultimately the ESOP.

      Petitioners notified Selway and the ESOP trustees that they were asserting

claims as ESOP participants, individually and in a representative capacity on

behalf of the ESOP, and made an initial pre-litigation demand. Over the course of

the next several months, Petitioners provided Selway and its insurers with five

expert reports and a draft complaint detailing the allegations contemplated against

Selway and ERISA fiduciaries, including, inter alia, breach of corporate duties,


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breach of ERISA fiduciary duties, shareholder derivative claims, negligence,

negligent infliction of emotional distress, retaliatory firings, and punitive damages.

Mr. Downing and Selway Corporation disputed the allegations.

         The parties engaged in discovery of Petitioners’ allegations of breaches of

fiduciary duties under federal and state law, including multiple depositions of

witnesses, corporate officers and plan fiduciaries. Petitioners’ experts conducted

and disclosed detailed analyses supporting the Petitioners’ contentions as to both

the breaches of duties and the extent of financial losses caused thereby. Exh. 1,

Exp. Rpt. of N. Abdrasilova (Apr. 11, 2018); Exh. 2, Exp. Rpt. of R. Hegger (April

11, 2018); Exh. 3, Exp. Rpt. of J. Krenzel (Mar. 6, 2018).


B.       Mediated Settlement Agreement.

         Although the allegations are disputed, Respondents and other releasees

acknowledged that the cost and risks of litigation, the technical nature of the

claims, the expansive scope of the matters alleged, the potential impact on Selway

Corporation and its operations, and judicial economy constituted factors sufficient

to justify a pre-litigation mediation.

         The parties agreed to participate in a pre-litigation mediation. The mediation

took place with the understanding that if it were unsuccessful, Petitioners would

proceed to assert their ERISA and other claims in this Court.



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      Following an extensive exchange of documents and other information, the

parties conducted a mediation with Tracy Axelberg on April 18-19, 2018.

Petitioners and Scottsdale Insurance Company and Travelers Casualty and Surety

Company of America (liability insurers for Selway Corporation), as well as

corporate and ESOP fiduciaries participated in the mediation.

      As a result of that mediation, the parties have reached a comprehensive

settlement agreement disposing of the claims asserted by Steve Tenold in the state

court litigation as well as the claims asserted by the other Petitioners herein. A

true, correct and complete copy of the negotiated Settlement Term Sheet is

attached hereto as Exhibit 4. Parties to the agreement are:

      Claimants: Steve Tenold and the individuals listed on Ex. “A” hereto
                 in their individual capacities, in their capacity as
                 representatives of the Selway Corporation Employee
                 Stock Ownership Plan and Trust (hereafter collectively
                 the “Claimants”), and derivatively on behalf of Selway
                 Corporation. Claimants are represented by John L.
                 Amsden and Justin Stalpes of Beck, Amsden and Stalpes,
                 pllc.

      Releasees: a) Respondents in pending Cause No. DV-17-159
                 (“Pending Cause”) before the Montana Twenty First
                 Judicial District Court, Ravalli County (Selway
                 Corporation and Max Downing), b) the potential
                 Respondents in litigation threatened by the above-
                 identified Claimants (Selway Corporation and its
                 directors and officers) (“Threatened Cause”), c) past and
                 present ESOP Trustees and Fiduciaries and their
                 attorneys, accountants, auditors and other agents d) heirs,
                 personal representatives, successors, assigns, agents,
                 officers (past and present), directors (past and present),

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                    partners, employees, attorneys, and insurers of each of
                    the individuals and entities identified in subparts a), b), c)
                    and d) above.

    Insurers:       Travelers Casualty and Surety Company of America, its
                    parents, subsidiaries and affiliates (“Travelers”) and
                    Scottsdale Insurance Company (“Scottsdale”).

    The following are the material terms of the agreement:

    1. Scottsdale shall pay toward the settlement $3,000,000 (Three
       Million and No/100 Dollars) less Defense Expenses that have been
       paid or will be paid by Scottsdale pursuant to paragraph 2 below.
       Scottsdale shall make its payment toward settlement within 30
       days following Claimants’ execution of the Release (the term
       “Release” is in the defined below) whichever is later.

    2. Scottsdale shall pay to Reep, Bell, Laird and Jasper, PC and Cotner
       Law PLLC any and all Defense Expenses that have been submitted
       to Scottsdale for reimbursement to date and any and all expert fees
       incurred with experts approved by Scottsdale through the date of
       distribution. Scottsdale shall pay unbilled and future Defense
       Expenses in accordance with the requirements of the Defense
       Funding Agreement.

    3. Travelers shall pay toward the settlement $2,500,000 (Two Million
       Five Hundred Thousand and No/100 Dollars) less Defense
       Expenses incurred through court approval of the proposed
       settlement or Claimants’ execution of the Release, whichever is
       later. Travelers shall make its payment within 30 days following
       Claimants’ execution of the Release (the term “Release” is in the
       defined below) whichever is later. The $500,000 Supplemental
       Personal Indemnification Limit of Liability, as part of its policy’s
       Private Company Directors and Officers Liability Coverage, only
       responds to the asserted shareholder derivative claims on behalf of
       Selway. Accordingly, the Settlement Agreement will have to
       acknowledge that fact and recite that such Limit is being paid to
       the ESOP Plan as directed by Selway to resolve its potential
       liabilities as a Trustee to the ESOP Plan.


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        4. Effective upon the Claimants’ execution of the Release the ESOP
           interests of Max Downing …[1] will be relinquished.

        5. Travelers and Scottsdale agree that they will not seek
           reimbursement of Defense Expenses or other sums from any of the
           Releasees. Upon Travelers’ and Scottsdale’s payment of the
           amounts set forth in paragraphs 1 and 3, Selway Corporation and
           its directors and officers agree to release Travelers and Scottsdale
           from any further liability in connection with the matters set forth in
           this Term Sheet and such release will include a release any claims
           against the insurers improperly paid or exhausted their limits in
           paying for the settlement (as will be further memorialized in a
           separate release agreement).

        6. The settlement is contingent upon judicial approval by federal
           court with a final bar to further litigation by Claimants and any
           non-settling parties against Releasees arising out of matters within
           the scope of the Release described below. The parties will work
           together in good faith to present the matter to the federal court in a
           neutral and objective manner and to do so in a manner conforming
           to applicable regulations governing settlement of ERISA fiduciary
           claims and Montana shareholder derivative suits. The parties will
           work together and endeavor in good faith to avoid argumentative,
           pejorative, or inflammatory terminology in court pleadings. The
           director and officer of Selway and the fiduciaries of the ESOP Plan
           will not be named parties in the federal court approval action. The
           parties shall stay the Tenold litigation pending completion of the
           judicial approval process. The Tenold litigation will be dismissed
           with prejudice, each party to bear their own costs and attorney’s
           fees upon the Insurers’ making the settlement payments set forth in
           ¶¶ 1 and 3 herein.

        7. Claimants shall execute a release (“Release”) fully and forever
           releasing against Releasees all claims, known and unknown,
           against Releasees that arose prior to the date of the court’s

1
 As negotiated by the parties, the settlement agreement also called for Max Downing’s son,
Devon Downing, to relinquish his interest in the ESOP. However, the U.S. Department of Labor
has objected to that provision. In deference to the DOL position, Devon Downing’s shares will
not be forfeited as a result of the settlement or its approval.

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        approval of the settlement, whichever is later. The Scottsdale and
        Travelers settlement payments identified above are contingent
        upon Claimants’ execution of the Release and court approval in
        conjunction with a litigation bar as set forth later in this
        memorandum.

            a. The parties shall use an MDTL release which shall include,
               without limitation, the following provisions from the MDTL
               form: 1) Release of actual and potential claims including but
               not limited to the claims identified in the Pending Cause,
               Threatened Cause and any claims arising from the Sale
               Transaction, against Releasees and their heirs, personal
               representatives, successors, assigns, agents, past and present
               directors and officers, employees, attorneys, insurers, past
               and present ESOP Trustees and Fiduciaries and their
               attorneys, accountants, auditors and other agents; 2) Release
               of future damages provision; 3) No admission of liability; 4)
               Apportionment of payment to lienholders (modified to be
               appropriate to this case); 5) No additional claims; 6)
               Stipulation for dismissal with prejudice of the Pending
               Cause and any other pending litigation the Claimants may
               have against Releasees (excepting only the court action for
               approval of this settlement); 7) Disclaimer.

            b. The effective date of the Release will be the date of final
               court approval of the bar to further litigation, and it will
               encompass all actual and potential claims arising prior to
               that date and any actual or potential claims relating to
               Releasees’ involvement in any asset or stock sale of Selway
               Corporation. The Release will not be executed until the
               court has finally approved the settlement and bar described
               herein and the objections of any objectors to the settlement
               have either been resolved with finality or have become non-
               appealable. To ensure that the court approval and bar
               hearing applies to the asset sale, Court approval of the
               settlement and implementation of the bar will be sought no
               earlier than the earliest of the following: a) the closing of
               any sale of substantially all of the assets of Selway to
               Transco (“Sale Transaction”); b) the termination of the Sale


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                Transaction or c) the passage of 180 days from the date all
                parties have executed this Settlement Term Sheet.

            c. Releasees and their counsel will use their best efforts to
               maximize equity resulting from the Sale Transaction and to
               draft a proxy statement which contains accurate and
               complete information related to the Sale Transaction.
               Releasors acknowledge that there are no guarantees,
               warranties or representations made concerning the outcome
               of the sales transaction and that numerous factors outside the
               control of Releasees and their counsel may impact the Sales
               Transaction proceeds, including the timing of closing,
               willingness of creditors to compromise claims, status of
               work in progress, collection of receivables, etc. Releasors
               further acknowledge that David B. Cotner and Cotner Law,
               PLLC (“Cotner”) may continue to represent Releasees in the
               Sales Transaction. The language of this subparagraph shall
               not create an obligation or legal duty on the part of David B.
               Cotner, Cotner Law Firm or Releasees to Releasors.

            d. The Release shall contain a statement acknowledging that
               the settlement provided for in this agreement is
               fundamentally fair, reasonable and adequate.

            e. The settlement amount shall be paid to the ESOP, court or
               other appropriate location for the benefit of the ESOP
               participants, as may be agreed upon by the parties or
               designated by the Court.

            f. The Release will include language that the Claimants have
               been represented by counsel, have had access to records and
               discovery requested by them, that the representative group
               contains past and present employees of Selway, and that the
               Claimants are satisfied that they have adequately
               investigated claims and are satisfied that it is in the best
               interests of the Plan and Claimants (in their individual and
               plan representative capacities) to settle the claims for the
               consideration specified in the Release.



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         8. The Department of Labor will be notified of the settlement terms
            and provided an opportunity to object to the settlement at or before
            the hearing on court approval. The settlement is conditioned upon
            DOL having no objection to the settlement and providing written
            assurance that this settlement will effectively resolve all claims and
            issues with respect to its investigation (including the potential
            imposition of penalties pursuant to ERISA) and that it will close its
            investigation file.

         9. Max Downing will resign any role he may presently occupy as
            director of Selway Corporation no later than the execution of the
            Release.

         10.The current Selway ESOP Trustees shall resign no later than the
            execution of the release.


C.       This Action Was Initiated to Obtain Equitable and Declaratory Relief
         Under ERISA.

         This action was initiated on October 19, 2018, for the purpose of obtaining

equitable relief under ERISA and declaratory and other relief under 28 U.S.C. §§

2201 and 2202. Petitioners ask for such relief consisting of: (1) approval of the

form and timing of a proposed notice of settlement and opportunity to object; (2)

approval of a bar order to be entered upon final approval; (3) appointment of an

independent trustee of the Selway ESOP who will be responsible for the

distribution of proceeds to the Plan participants and, after opportunity to object;

and (4) final approval of settlement and entry of bar order. Should the relief

requested be granted, the net proceeds of the settlement, after payment of

Petitioners’ counsels’ fees and costs, will be paid to the Selway ESOP.


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                                           DISCUSSION

A.       Preliminary Approval of the Settlement Agreement Is Appropriate.

         1.      Preliminary Approval Is Appropriate Under Factors Derived
                 From Fed. R. Civ. P. 23.1.

         It has been acknowledged that Fed. R. Civ. P. 23.1(c) governing derivative

actions may provide guidance for court approval of settlement, compromise or

dismissal of ERISA claims by plan participants or beneficiaries. Rispler v. Sol

Spitz Co., 418 F. Supp. 2d 82, 86-87, 92 (E.D. N.Y. 2005), report and

recommendation adopted in part, 2005 WL 1285781 (E.D. N.Y. May 31, 2005)

(citing Diduck v. Kaszycki & Sons Contractors Inc., 974 F.2d 270 (2d Cir. 1992)2;

Coan v. Kaufman, 349 F. Supp.2d 271 (D. Conn. 2004); Koerner v. Copenhaver,

2014 WL 5544051 at **2-3 (C.D. Ill. Nov. 3, 2014). Judicial approval of the

settlement, notice procedures, and any proposed bar order provides protection for

“the unique derivative nature of ERISA claims….” Koerner, 2014 WL 5544051 at

**2-3 (citing Massachusetts Mut. Life Ins. Co. v. Russell, 473 U.S. 134, 142

(1985); Fish v. Greatbank Trust Co., 667 F. Supp.2d 949, 952 (N.D. Ill. 2009)).

         The Court determines whether the settlement is fair, adequate, reasonable,

and not a product of collusion. Koerner, 2014 WL 5544051 at *3 (citing Reynolds

v. Beneficial Nat’l Bank, 288 F.3d 277, 279 (7th Cir.2002)). In making these


2
 Overruled on other grounds as recognized in Coan v. Kaufman, 349 F. Supp. 2d 271, 274 (D.
Conn. 2004), aff’d, 457 F.3d 250 (2d Cir. 2006).

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determinations, the district court enjoys wide discretion, and in exercising its

discretion, the court should not decide the merits of the action or attempt to

substitute its own judgment for that of the parties. Maher v. Zapata Corp., 714

F.2d 436, 455, n. 31 (5th Cir. 1983) (citing Lewis v. Newman, 59 F.R.D. 525, 527

(S.D. N.Y. 1973); Pettway v. American Cast Iron Pipe Co., 576 F.2d 1157, 1214 n.

69 (5th Cir.), cert. denied, 439 U.S. 1115 (1978) (neither district court nor

appellate court on review, should reach ultimate conclusions on issues of fact and

law underlying the dispute)).

          Settlement approval is a two-step process. “The first step is a preliminary,

pre-notification hearing to determine whether the proposed settlement is within the

range of possible approval.” Koerner, 2014 WL 5544051 at *4 (citing Armstrong

v. Bd. of Sch. Dirs. of Milwaukee, 616 F.2d 305, 314 (7th Cir. 1980)3). If the Court

grants preliminary approval, the parties proceed with the approved notice

procedures, and the Court then considers whether to grant final approval and enter

a bar order. Ibid.

          At this preliminary approval stage, the Court determines whether the

proposed settlement is within the range of judicial approval, taking into account:

          1)      the strength of the claims compared to the terms of proposed
                  settlement;
          2)      the risk, expense, complexity, and likely duration of further
                  litigation;

3
    Overruled on other grounds by Felzen v. Andreas, 134 F3d 873 (7th Cir. 1998).

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         3)      the extent of opposition to settlement among affected parties4;
         4)      amount offered in settlement;
         5)      experience and views of competent counsel; and
         6)      the stage of the proceedings and extent of discovery completed.

Koerner, 2014 WL 5544051 at *3-4 (citing In re AT & T Mobility Wireless

Data Svcs. Sales Litig., 270 F.R.D. 330, 346 (N.D. Ill. 2010)); see also

Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (concerning

similar factors for settlement of a class action) (citing Torrisi v. Tucson Elec.

Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993)).

         The settlement may be presumed fair and adequate when it is arrived at after

arms-length negotiations; sufficient discovery has been taken to allow the court

and parties to act intelligently; the counsel involved are competent and

experienced; and the number of objectors, or the interest they represent, is not

large. Susquehanna Corp. v. Korholz, 84 F.R.D. 316, 321 (N.D. Ill. 1979). In

addition to the above factors, the court must be satisfied the settlement was not the

result of collusion. Maher, 714 F.2d at 455 (citing Young v. Katz, 447 F.2d 431,

433 (5th Cir.1971)). Here, the relevant factors support preliminary (and final)

approval of the settlement agreement.

         Petitioners were in no way guaranteed success on any of their claims.

Respondents and releasees denied any wrongdoing. While Petitioners contend the


4
 This factor (opposition to the settlement) is appropriate for review at the final fairness hearing
only. It cannot be measured yet because notice has not yet issued.

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alleged conduct is egregious, Respondents not only denied wrongdoing but further

alleged that the complained of conduct had been known to ESOP participants who

had never complained. Respondents and releasees also proffered defenses based on

causation, i.e., that the complained of conduct had not caused by the losses but

rather the company had suffered under regulatory burdens and economic factors.

Additionally, some of the liability insurance coverage potentially available to cover

the claims was asserted to be “eroding” in nature, meaning money spent defending

against the claims would be counted against the remaining limit available for

settlement or to cover a judgment against the insureds at a later date. Respondents

and releasees might have succeeded in convincing a trier of fact that no duties had

been breached or that Petitioners had appeared at the time to have sanctioned the

conduct or that the company’s losses were tied to factors beyond the alleged

misconduct. Even if the Petitioners prevailed, it may not have been possible to

obtain a recovery on the full amount of judgment. Thus, the Petitioners were in no

way guaranteed victory or recovery in the event of victory.

       Courts have required that discovery, whether informal or formal, must be

completed to a sufficient extent as to allow claimants enough information to make

an informed decision regarding settlement. In re Mego Fin. Corp. Sec. Litig., 213

F.3d 454, 459 (9th Cir. 2000), as amended (June 19, 2000) (citing Linney v.

Cellular Alaska Partnership, 151 F.3d 1234, 1238 (9th Cir. 1998) (citing In re


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Chicken Antitrust Litig., 669 F.2d 228, 241 (5th Cir. 1982)). Here, Petitioners have

completed enough discovery to support assessment of the extent of damages and

the likelihood of success on the merits. This has included review of relevant

financial information by retained experts. This extent of discovery has enabled

Petitioners to competently evaluate the proposed settlement.

       While the parties have conducted voluminous discovery, substantial and

burdensome additional discovery would need to be completed if the litigation were

to proceed to trial. This would involve forensic accounting, the retention of

numerous experts with a variety of different areas of expertise, and the depositions

of perhaps dozens of individuals. Continued litigation would ensure a long delay

and intensive use of resources. The certainty of recovery under the settlement

avoids substantial delay and waste of resources. Thus, the burden of continuing the

litigation also supports preliminary approval of settlement.

       The settlement amount is fair, reasonable and adequate. The ESOP will

receive a net settlement distribution of approximately $3.25 million, after payment

of defense fees and costs out of the declining policies and after payment of

plaintiffs’ fees and costs. Those ESOP assets will benefit individual Plan

participants in proportion to their holdings in the plan as governed by applicable

ERISA laws and regulations and managed by experienced and not-conflicted

ERISA professionals.


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       Petitioners’ attorneys have considerable trial experience in the Montana state

and federal courts and extensive experience in ERISA, class action and common

fund recovery cases. Petitioners’ attorneys are also experienced in analyzing and

litigating the extent of liability insurance available to cover claims against

defalcating officers, directors and ERISA fiduciaries. Respondents’ are similarly

experienced. Counsel for both parties support the settlement.

       The proposed settlement is the result of intensive, arm’s-length negotiations

between experienced attorneys familiar with the legal and factual issues of this

case. Petitioners’ attorneys conducted an independent investigation regarding the

extent and value of Petitioners’ claims with the full intent of proceeding to trial if

necessary to obtain recovery on behalf of both Mr. Tenold and the ESOP. The

recovery is significant, benefits the ESOP participants, and does not involve any

form of “kickback” to the wrongdoers.

       Settlements are particularly favored in “notoriously difficult and

unpredictable” litigation such as derivative actions. Maher, 714 F.2d at 455;

Republic Nat’l Life Ins. Co. v. Beasley, 73 F.R.D. 658, 667 (S.D.N.Y. 1977) (citing

Schimmel v. Goldman, 57 F.R.D. 481, 487 (S.D. N.Y.1973)). Courts do not lightly

reject settlements in such cases. Maher, 714 F.2d at 455 (citing Florida Trailer &

Equipment Co. v. Deal, 284 F.2d 567, 571 (5th Cir. 1960)). Based on this and the




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foregoing factors, Petitioners respectfully ask this Court to preliminarily approve

the mediated settlement agreement herein.

         2.      Settlement Is in the Best Interests of Plan Participants as
                 Required by PTE 2003-39.

         Under ERISA, a transaction between an ESOP and a party in interest is a

prohibited transaction unless a statutory or regulatory exemption is met. 29 U.S.C.

§ 1106(a)(1)(A) (prohibiting exchange of property between Plan and party in

interest); 29 U.S.C. § 1106(a(1)(D) (prohibiting transfer to or use by or for the

benefit of a party in interest of any assets of the Plan). These provisions have the

practical effect of precluding, or at a minimum chilling, settlements such as the one

reached in this case.5 That is because a plan’s claims or “choses in action” are

property of the plan. Release of those claims constitutes an exchange and a transfer

of property. Here, the plan did not assert the claims but they were asserted on its

behalf by the participants therein.

         The Department of Labor has promulgated a “Prohibited Transaction

Exemption” (“PTE”) that is intended to serve as a roadmap for settling breach of

fiduciary duty cases where a fiduciary receives a release. The PTE may apply



5
  For example, some courts have entertained, albeit briefly, an objection to settlement of an
ERISA claim for the failure to comply with specified Prohibited Transaction Exemptions. See,
e.g., John Boettcher Sewer & Excavating Co. v. Midwest Operating Engines Welfare Fund, 803
F. Supp. 1420 (N.D. Indiana 1992) (settlement enforced notwithstanding alleged failure to
comply with PTE 1976-1).


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because Respondents were parties-in-interest, and because the participants will be

giving a release to Respondents.

       As indicated in PTE 2003-39, 68 Fed. Reg., 75632 (Dec. 31, 2003), the

Department specified a series of requirements needed to meet the exemption. In

particular, PTE 2003-39 requires that a settlement involving such a release may be

approved under a seven-part test, if:

              there is a genuine controversy involving the plan;

              the transaction is not part of an agreement, arrangement or
               understanding designed to benefit a party-in-interest;

              the fiduciary that authorizes the settlement has no relationship to, or
               interest in, any of the parties involved in the litigation, other than the
               plan, that might affect the exercise of such person’s best judgment as
               a fiduciary;

              the settlement is reasonable in light of the plan’s likelihood of full
               recovery, the risks and costs of litigation, and the value of the claims
               foregone;

              the terms and conditions of the transaction are not less favorable to the
               plan than comparable arms-length terms and conditions that would
               have been agreed to by unrelated parties under similar circumstances;

              extension of credit by the plan to a party in interest in connection with
               the settlement of a claim against the party in interest is on terms that
               are reasonable, taking into consideration the creditworthiness of the
               party in interest and the time value of money; and

              the transaction is not described in PTE 76-1.




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       First, there is no serious doubt a genuine controversy involving the plan

exists. Petitioners allege Respondents breached both their ERISA and corporate

duties, mismanaged plan assets, and caused harm to Petitioners in the process.

Specifically, Petitioners have asserted that, in contravention of clear ERISA

mandates, ERISA fiduciaries and corporate officers and directors used corporate

(and thus ESOP) assets to engage in conflicted interest transactions, reducing the

value of Selway Corporation stock and Petitioners’ retirement accounts as a result.

Petitioners’ claims would seek to unwind the challenged transactions and recover

the lost value, equal to millions of dollars.

       Second and third, the settlement transaction will not be part of an agreement,

arrangement or understanding designed to benefit a party-in-interest. Defalcating

Plan trustees, fiduciaries and members of the ESOP Administrative Committee

should be replaced, as discussed in the following section. Their replacements will

have no relationship to, or interest in, the financial well-being of the wrongdoers

that might compromise the exercise of their best judgment as fiduciaries.

       Fourth, the settlement is reasonable in light of the likelihood of recovery, the

risks and costs of litigation, and the value of the claims foregone. Petitioners

asserted losses in excess of $6 million, but recovery is not certain as there are

questions as to the ability of the wrongdoers to satisfy any judgment and extent of

available insurance coverage. The settlement exhausts the acknowledged insurance


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coverage for the ERISA claims; any additional insurance recovery would likely

require separate coverage litigation. It is for these same reasons that the fifth

requirement is satisfied: the terms and conditions of the transaction are not less

favorable to the plan than comparable arms-length terms and conditions that would

have been agreed to by unrelated parties under similar circumstances.

          With respect to the last two requirements, there is no extension of credit in

the transaction, and the transaction is not described in PTE 76-1.6


B.        The Court Should Appoint a Replacement Trustee for the ESOP.

          Petitioners assert that the ESOP, like the corporation itself, has been

adversely controlled by defalcating fiduciaries, resulting in ESOP assets managed

not for the best interests of Plan participants, but for the benefit of corporate



6
  PTE 2003-39 has further requirements for settlements occurring after January 30, 2004. These
further requirements include that: a) where the case has not been certified as a class action, an
attorney retained to advise the plan on the claim, and having no relationship to parties other than
the plan, must determine there is a genuine controversy involving the plan; b) all terms of the
settlement must be specifically described in a written settlement agreement or consent decree; c)
assets other than cash may be received only under certain conditions; d), e) non-cash assets must
be specifically described; f) the fiduciary acting on behalf of the plan must acknowledge in
writing that it is a fiduciary with respect to the settlement of the litigation on behalf of the plan;
and, g) the plan fiduciary must maintain certain documents relating to the transaction for the
persons identified in subsection III(h). Here, the Court is requested to find that a genuine
controversy exists and also to appoint a replacement fiduciary, to be agreed upon by the parties
and the Department of Labor, who can advise the ESOP as to the existence of a genuine
controversy. Moreover, all terms are specifically described in the mediated settlement agreement.
No assets other than cash are being transferred to the plan, so subsections c), d) and e) are not at
issue. All fiduciaries involved in execution will acknowledge that they are fiduciaries with
respect to the settlement on behalf of the plan, and will agree to maintain records concerning this
transaction. As a result, the requirements of PTE 2003-39 have been met in this case.

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management. Like other complained of transactions, this settlement constitutes a

transfer of ESOP property (its “choses in action” or claims against releasees).

       To protect against this transfer constituting another conflicted transaction

under 29 U.S.C.A. §§ 1104(a)(1) and 1106(a)(1)(D), (b)(1), the ESOP must be free

of adverse control and placed under the management of a qualified, independent

professional trustee capable of executing a settlement without compromised

loyalty. See 68 Fed. Reg. 75632 at pp. 6-7, 13, 16 (Dec. 31, 2003).

       This Court has power to appoint a replacement trustee under 29 U.S.C.A. §

1109(a), which provides that compromised fiduciaries are “subject to such …

equitable or remedial relief as the court may deem appropriate, including removal

of such fiduciary.” The parties are working together to identify a mutually

acceptable replacement trustee.


C.     Entry of a Bar Order Is Appropriate.

       The mediated settlement agreement requires full and complete release and a

bar order protecting Respondents and related parties from other claims premised

upon, arising from or related to the same conduct. This is a reasonable condition of

settlement. Franklin v. Kaypro Corp., 884 F.2d 1222, 1232 (9th Cir. 1989) (bar

order, as condition of settling securities claims, is reasonable and within equitable

power of court to encourage settlement); Eichenholtz v. Brennan, 52 F.3d 478, 489

(3d Cir 1995) (upholding bar order against contribution and indemnification

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claims); In re Oil & Gas Litig., 967 F.2d 489, 493-94 (11th Cir. 1992); Munford

Inc. v. Munford Inc., 97 F.3d 449, 456 (11th Cir. 1996); In re Jiffy Lube Securities

Litig., 927 F.2d 155, 161, n. 3 (4th Cir. 1991).

       Here, as in the foregoing cases, a bar order is necessary for complete peace.

The parties ask for the Court’s approval and entry of a bar order pertaining to the

release of any and all complaints, claims, charges, liabilities, claims for relief,

demands, suits, actions or causes of action arising out of matters within the scope

of the Release as described by the terms of the mediated settlement agreement:

               a. The parties shall use an MDTL release which shall include,
                  without limitation, the following provisions from the MDTL
                  form: 1) Release of actual and potential claims including but
                  not limited to the claims identified in the Pending Cause,
                  Threatened Cause and any claims arising from the Sale
                  Transaction, against Releasees and their heirs, personal
                  representatives, successors, assigns, agents, past and present
                  directors and officers, employees, attorneys, insurers, past
                  and present ESOP Trustees and Fiduciaries and their
                  attorneys, accountants, auditors and other agents; 2) Release
                  of future damages provision; 3) No admission of liability; 4)
                  Apportionment of payment to lienholders (modified to be
                  appropriate to this case); 5) No additional claims; 6)
                  Stipulation for dismissal with prejudice of the Pending
                  Cause and any other pending litigation the Claimants may
                  have against Releasees (excepting only the court action for
                  approval of this settlement); 7) Disclaimer.

               b. The effective date of the Release will be the date of final
                  court approval of the bar to further litigation, and it will
                  encompass all actual and potential claims arising prior to
                  that date and any actual or potential claims relating to
                  Releasees’ involvement in any asset or stock sale of Selway
                  Corporation. The Release will not be executed until the

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                   court has finally approved the settlement and bar described
                   herein and the objections of any objectors to the settlement
                   have either been resolved with finality or have become non-
                   appealable. To ensure that the court approval and bar
                   hearing applies to the asset sale, Court approval of the
                   settlement and implementation of the bar will be sought no
                   earlier than the earliest of the following: a) the closing of
                   any sale of substantially all of the assets of Selway to
                   Transco (“Sale Transaction”); b) the termination of the Sale
                   Transaction or c) the passage of 180 days from the date all
                   parties have executed this Settlement Term Sheet.

Exh. 4, Settlement Term Sheet at ¶ 7(a), (b). Importantly, notice to potential

claimants is not necessary. This is because the ESOP owns all or substantially all

of the shares of the company; the ESOP is now independent of the alleged

tortfeasor officers, directors and managing agents; and the settlement is otherwise

in the best interests of the ESOP and its participants. Nevertheless, because

participants who are not named herein would be subject to the bar order,

petitioners will give notice to all ESOP participants as set forth below.


D.     The Court Should Approve the Proposed Form and Timing of Notice to
       Potential Claimants Who Will Be Subject to the Bar Order.

       With respect to the ERISA claims, a replacement fiduciary will enter into the

settlement agreement, the replacement fiduciary will be independent of and

adverse to the wrongdoers, the settlement agreement is made at arms-length, and

the settlement is otherwise beneficial to the plan and its beneficiaries. Accordingly,




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no further notice is required pursuant to either 29 U.S.C. § 1132 or Fed. R. Civ. P.

23.1.

        Nevertheless, because Plan participants who are not named as individual

Petitioners would be subject to the Bar Order, the parties contemplate that notice

shall be given to all Plan participants in the form shown as attached Exhibit 1 to

the motion. This proposed notice form describes the claims, the general settlement

terms, the procedures for objecting, and the deadlines for responding to the notice.

It provides instructions as to where additional information may be obtained. And it

informs recipients about the dates relevant to the approval process. Such a notice

form has been consistently found appropriate and adequate. Bell Atl. Corp. v.

Bolger, 2 F.3d 1304, 1317 (3d Cir. 1993); Maher, 714 F.2d at 451 (surveying the

precedents).

        Notice shall be mailed at Petitioners’ expense to the last known address

within five (5) days of the Court’s order granting preliminary approval of the

mediated settlement agreement. It is well established that notice mailed to last

known addresses satisfies due process and constitutes best notice practicable. See

Grunin v. Int’l House of Pancakes, 513 F.2d 114 (8th Cir. 1975) (notice sent

nineteen days before fairness hearing did not violate due process); Armstrong v.

Bd. of Sch. Dirs. of Milwaukee, 616 F.2d 305 (7th Cir. 1980) (notice sent twelve




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days before fairness hearing did not violate due process). The notice will also go to

the Department of Labor and be published in a local newspaper.

       Notice must be structured in terms of time and content to accommodate

rational decisions as to whether recipients should intervene in the settlement

proceedings or otherwise make their views known and, if they choose to do so,

have sufficient opportunity to prepare a position. Milstein v. Werner, 57 F.R.D.

515, 518 (S.D.N.Y. 1972) (approving brochure sent 38 days in advance of the

hearing, which identified actions being terminated, detailed course of litigations,

and adequately and reasonably presented terms of settlement). Here, because the

Plan participants are already beneficiaries of the mediated settlement agreement,

the parties do not anticipate that notice to the participants will result in any

objection or intervention. Nevertheless, recipients shall be given 30 days to

respond. This is adequate and appropriate under the circumstances. See, e.g.,

Silber v. Mabon, 18 F.3d 1449, 1452-53 (9th Cir. 1994) (court approved five-week

notice procedure, with opt-out date roughly 40 days from initial date of mailing of

notice, and 35 days from initial date of publication of notice); Torrisi v. Tucson

Elec. Power Co., 8 F.3d 1370 (9th Cir. 1993) (court approved notice procedure

providing for mailing of notice 31 days before deadline for written objections and

45 days before final settlement approval hearing); Gilman v. Independence Blue

Cross, 1997 WL 633568 (E.D. Pa. 1997) (opt-out deadline 47 days after notice


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first published); In re Prudential Ins. Co. of America Sales Practice Litig. 962

F. Supp. 450, 507 (D. N.J. 1997) (notice sent first week of November for

December 19 opt-out date).

       Both the proposed form of and the proposed procedure for notice meet the

requirements for compromising the claims at issue herein. Accordingly, Petitioners

ask the Court to approve the form and procedure so that the parties may move

forward with giving notice in anticipation of proceeding thereafter with a hearing

for final approval of the mediated settlement agreement.


                                        CONCLUSION

       For the foregoing reasons, this unopposed motion for preliminary approval

should be granted.


       DATED this 16th day of November 2018.


                                               /s/ John L. Amsden
                                               BECK AMSDEN & STALPES, PLLC

                                               Attorneys for Petitioners




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                          CERTIFICATE OF COMPLIANCE

       This brief complies with L.R. 7.1(d)(2). There are 6,371 words in this brief,
excluding the caption, table of contents, table of authorities, exhibit index and
certificate of compliance.


       DATED this 16th day of November 2018.


                                               /s/ John L. Amsden
                                               BECK, AMSDEN & STALPES, PLLC

                                               Attorneys for Petitioners




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